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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3                                                  ***
4      UNITED STATES OF AMERICA,                     Case No. 2:15-cr-313-APG-VCF
5                                     Plaintiff,     ORDER
6                   v.
                                                      (Dkt. #45)
7      FRANCISCO JAVIER RIVERA-LOPEZ,
8                                   Defendant.
9

10          Pursuant to the USA's Motion to Dismiss (ECF No. 45), the criminal Indictment is
11    DISMISSED as to defendant FRANCISCO JAVIER RIVERA-LOPEZ ONLY.
12          Dated: May 1, 2016.
13
                                                         ANDREW P. GORDON
14                                                       UNITED STATES DISTRICT JUDGE
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